                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.641 Page 1 of 24




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                   7
                   8                                                  UNITED STATES DISTRICT COURT

                   9                                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA

                  10   ELIZABETH MIRABELLI, an                                         Case No.: 23CV0768 BEN WVG
                       individual, and LORI ANN WEST, an
                  11   individual ,                                                    MEMORANDUM OF POINTS AND
                                                                                       AUTHORITIES IN SUPPORT OF SCHOOL
                  12                           Plaintiffs,                             EMPLOYEE DEFENDANT’S MOTION TO
                                                                                       DISMISS PLAINTIFFS COMPLAINT
                  13               v.                                                      [FED. R. CIV. P. 12(b)(6)]

                  14   MARK OLSON, et al,                                              Judge:    Hon. Roger T. Benitez
ARTIANO SHINOFF




                                                                                       Dept.:    5A
                  15                           Defendants.                             Date:     June 26, 2023
                                                                                       Time:     10:30 a.m.
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                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.642 Page 2 of 24



                                                               Table of Contents
                   1
                       I.          INTRODUCTION .............................................................................................1
                   2
                       II.         PROCEDURAL STATUS ................................................................................1
                   3
                       III.        PERTINENT FACTS ........................................................................................ 2
                   4
                       IV.         LEGAL STANDARD ....................................................................................... 4
                   5
                       V.          ANALYSIS ....................................................................................................... 4
                   6
                                   A.          The School’s Policies Are Consistent with State and Federal Law……4
                   7
                                               1.          Federal Law Protects Against Discrimination Because of
                   8                                       Gender Identity ............................................................................. 4
                   9                           2.          California Protects Against Discrimination Because of
                                                           Gender Identity .............................................................................6
                  10
                                   B.          California Constitution Protects Privacy……... .....................................6
                  11
                                   C.          Statutes Protect Against Discrimination and Harassment .....................6
                  12
                                   D.          The California Department of Education Requires the Policy..............7
                  13
                                               1.          May a student’s gender identity be shared with the student’s
                  14                                       parents, other students, or members of the public? ..................... 7
ARTIANO SHINOFF




                  15               E.          Plaintiffs Assertion of Parents’ Rights Misstates the Law ...................8
                  16              F. The Regulation Does Not Violate the Plaintiffs’ Right to Free Speech...9
                  17                           1.          First, The Regulation Does Not Require Any Lie ...................... 9
                  18                           2.          Plaintiffs’ Speech at School Is Not Protected Speech ................ 9
                  19               G.          A Techer’s Speech in the Classroom Is Not Protected Speech ...........11
                  20               H.          Plaintiffs’ Speech Is Curricular Speech ...............................................14
                  21               I.          The Policy Does Not Violate the Plaintiffs Religion ............................14
                  22                           1.          The School’s Policy Does Not Burden Plaintiffs’ Religion .......15
                  23                           2.          The School’s Policy Is Neutral and Applied Generally .............16
                  24                           3.          The Policy Meets the Strict Scrutiny Test .................................. 17
                  25               J.          The California Department of Education Authorities Support the
                                               Policy .....................................................................................................18
                  26
                                   K.          The School Employees Are Entitled to Qualified Immunity.................18
                  27
                       VI.         CONCLUSION ............................................................................................... 19
                  28
                                                                                            ii
                            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                               MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.643 Page 3 of 24




                   1
                                                                            TABLE OF AUTHORITIES
                   2
                       Cases
                   3
                       American Academy of Pediatrics v. Lungren (1997) 16 Cal.4th 307, 359,.................. 6
                   4
                       Associated Gen. Contractors of Calif. v. Calif. State Council of Carpenters,
                   5      459 U.S. 519, 526 (1983) ........................................................................................ .4
                   6   Apache Stronghold v. United States, 38 F.4th 742, 770 (9th Cir. 2022) ......................15
                   7   Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) ...................................................................4
                   8   Balistreri v. Pacifica Police Dep’t., 901 F.2d 696, 699 (9th Cir. 1990) ........................ 4
                   9   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)............................................ 4
                  10   Blau v. Fort Thomas Public School Dist. (6th Cir. 2005) 401 F.3d 381, 395–
                  11        396 ............................................................................................................................. 8
                  12   Borden v. Sch. Dist. of East Brunswick, 523 F.3d 153, 171 (3d Cir. 2008 ..................14
                  13   Bostock v. Clayton County (2020) ––– U.S. ––––, 140 S.Ct. 1731, 1741.................... 17
                  14
ARTIANO SHINOFF




                       Brammer-Hoelter v. Twin Peaks Charter Acad., 492 F.3d 1192,1204 (10th
                  15         Cir. 2007) ................................................................................................................ 14
                  16   Bureerong v. Uvawas, 922 F.Supp. 1450, 1462 (C.D. Cal. 1996 ................................ 4
                  17   Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-338 (9th Cir. 1996). ....................... 4
                  18   Church of Lukumi Babalu Aye, Inc. v. City of Hialeah (“Lukumi”), 508 U.S.
                  19        520, 531, 113 S.Ct. 2217, 124 L.Ed.2d 472 (1993) ................................................ 16
                  20   Connick v. Myers, 461 U.S. 138 (1983) ........................................................................ 11
                  21   Demers v. Aaustin, 746 F.3d 402, 411-13 (9th Cir. 2014.) ........................................... 11
                  22   Dep’t of Fair Emp’t and Hous. v. Cathy’s Creations, Inc., No. BCV-18-
                  23         102633, 2022 WL 18232316, at *13 (Cal. Super. Dec. 27, 2022 ............................. 9
                  24
                       Emp't Div. v. Smith, 494 U.S. 872, 879 (1990) ............................................................ 16
                  25
                       Evans-Marshall v. Board of Educ., 624 F.3d 332 (6th Cir. 2010) ............................... 11
                  26
                       Fields v. Palmdale Sch. Dist., 427 F.3d 1197, 1204 (9th Cir. 2005 .............................. 8
                  27
                       Franklin v. Gwinnett Cnty. Pub. Sch., 503 U.S. 60, 75 (1992) .................................... .5
                  28
                                                                                          iii
                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.644 Page 4 of 24




                   1   Garcetti v. Ceballos, 547 U.S. 410, 421 (2006 .......................................................11,12
                   2   Glenn v. Brumby, 663 F.3d 1312, 1317 (11th Cir. 2011) ............................................... 6
                   3   Grace United Methodist Church v. City of Cheyenne, 451 F.3d 643, 651
                         (10th Cir.2006) ........................................................................................................ 16
                   4
                       Hope v. Pelzer, 536 U.S. 730 (2002) ............................................................................ 18
                   5
                       Pearson v. Callahan, 555 U.S. 223 (2009) .............................................................. ....18
                   6
                       Janus v. Am. Fed’n of State, Cnty., & Mun. Emps., Council 31, _ U.S. _, 138
                   7      S.Ct. 2448, 2463 (2018)............................................................................................ 9
                   8   Johnson v. Poway Unified School Dist. (9th Cir. 2011) 658 F.3d 954, 966. ............... 13
                   9   Kastl v. Maricopa Cnty. Cmty. Coll. Dist., 325 Fed.Appx. 492, 493 (9th Cir.
                         2009) ......................................................................................................................... 4
                  10
                       Kennedy v. Bremerton School District (2022) __ U.S. __, 142 S.Ct. 2407,
                  11     2421, 2422 ............................................................................................................... 14
                  12   Lee v. York Cnty. Sch. Div., 484 F.3d 687, 700 (4th Cir. 2007) ................................... 14
                  13   Lukumi, 508 U.S. at 531–32, 113 S.Ct. 2217 ............................................................... 16
                  14   Mayer v. Monroe Cnty. Cmty. Sch. Corp., 474 F.3d 477,479-80 (7th Cir.
ARTIANO SHINOFF




                         2007 ......................................................................................................................... 14
                  15
                       Miller v. Reed, 176 F.3d 1202, 1206 (9th Cir.1999...................................................... 16
                  16
                       North Coast Women's Care Medical Group, Inc. v. Superior Court (2008) 44
                  17     Cal.4th 1145, 1158................................................................................................... 18
                  18   Patricia H. Berkeley. Unified Sch. Dist., 830 F.Supp. 1288, 1290 (C.D. Cal.
                          1993) ........................................................................................................................ ..4
                  19
                       Pearson v. Callahan, 555 U.S. 223 (2009 .................................................................... 18
                  20
                       Pickering v. Board of Educ., 391 U.S. 563 (1968 ........................................................ 11
                  21
                       Price Waterhouse v. Hopkins, 490 U.S. 228 (1989).......................................................5
                  22
                       Regino v. Staley (E.D. Cal., Mar. 9, 2023, No. 223CV00032JAMDMC) ..................... 9
                  23
                       Roberts v. United States Jaycees (1984) 468 U.S. 609, 626. ....................................... 17
                  24
                       Rosa v. Park West Bank & Trust Co., 214 F.3d 213, 215–16 (1st Cir. 2000)................ 6
                  25
                       Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 833
                  26     (1995) ................................................................................................................. 13, 14
                  27   Saucier v. Katz, 533 U.S. 194, 195 (2001..................................................................... 18
                  28   Schwenk v. Hartford, 204 F.3d 1187, 1202 (9th Cir. 2000) ........................................... 5
                                                               iv
                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.645 Page 5 of 24




                   1   Smith v. City of Salem, 378 F.3d 566, 575 (6th Cir. 2004)............................................ 6
                   2   Stormans, Inc. v. Wiesman, 794 F.3d 1064, 1079 (9th Cir. 2015). .............................. 16
                   3   Taking Offense v. State, 66 Cal. App. 5th 696, 709 (2021) ........................................... 9
                   4   Tinker v. Des Moines Ind. Comm'ty. Sch. Dist., 393 U.S. 503, 506 (1969 .................. 11
                   5   Whitaker v. Kenosha Unified Sch. Dist. No. 1, 858 F.3d 1034, 1049 (7th Cir.
                         2017) ........................................................................................................................ ..6
                   6
                       Williams v. Dallas Indep. Sch. Dist., 480 F.3d 689, 694 (5th Cir. 2007)..................... 14
                   7
                       Statutes
                   8
                       Cal. Ed. Code § 49602, subd. (e) ....................................................................................7
                   9
                       Ed. Code, § 220............................................................................................................... 6
                  10
                       Federal Rule of Civil Procedure 12(b)(6) ..................................................................... 19
                  11
                       Title IX of the Education Amendments of 1972, 20 U.S.C. 1681 et seq., .................... 5
                  12
                       Regulations
                  13
                       Administrative Regulation 5145.3............................................................................... ..2,3
                  14
ARTIANO SHINOFF




                       Board Policy 5145.3.......................................................................................................... 2
                  15
                       EUSD AR 5145.3, Comp. Ex. 3 ...............................................................................10, 11
                  16
                  17
                  18
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28
                                                                                        v
                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                             MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.646 Page 6 of 24




                   1
                                                                                  I.     INTRODUCTION
                   2
                                   Two schoolteachers object because the school has asked them to be respectful of students who
                   3
                       are experiencing confusion over their gender identity. The school did that because the state and federal
                   4
                       government required the school to do that. The teachers object to governments’ policies and seek to
                   5
                       inject the judicial branch into this legislative issue. This case raises very important issues for the
                   6
                       Legislature. But this is not an issue for the Court.
                   7
                                   Schools are required to provide a safe place for children to learn.          The law forbids
                   8
                       discrimination against a child who questions their gender and encourages teachers to respect the
                   9
                       child’s preferred gender. But issues arise if the child does not want their parents to know their intent
                  10
                       to change their gender identification. These two teachers assert the right of parents to be central in
                  11
                       raising their children. That very significant Constitutional issue – regarding the parents’ right to raise
                  12
                       their children—belongs to parents and is not at issue here, because these teachers do not assert their
                  13
                       interest as parents; instead, they contend the policy violates their personal free speech and religious
                  14
ARTIANO SHINOFF




                       rights.
                  15
                                   The problematic event occurs when a student wants to use a non-conforming name and
                  16
                       pronoun but does not want the parents to know they are non-conforming. If the parent asks the teacher
                  17
                       directly whether their student is non-conforming, the teachers contend the school policy requires them
                  18
                       to lie, which violates their religious beliefs. Consequently, the principal factual issue is whether the
                  19
                       policy requires the teachers to lie. Review of the policy and the training provided shows the policy
                  20
                       does not ask the teachers to lie. It instructs them to tell the parent the question is not theirs to answer,
                  21
                       or to refer the question to an Administrator. Declining to answer a question is not a lie. Referring a
                  22
                       question to another person is not a lie. The remaining issue is whether any other aspect of the policy
                  23
                       requiring respect for children’s gender-identification, such as using a student’s preferred pronoun or
                  24
                       name, violates the teachers’ right to freedom of speech or religion.
                  25
                                                                            II.        PROCEDURAL STATUS
                  26
                                   The two school-teacher Plaintiffs -- ELIZABETH MIRABELLI and LORI ANN WEST-- sued
                  27
                       individuals associated with the Escondido Union School District (“school district”), but did not sue
                  28
                                                                                            1
                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.647 Page 7 of 24




                   1   the school district. The school district employees are MARK OLSON, President of the EUSD Board

                   2   of Education; FRANK HUSTON, Vice President of the EUSD Board of Education; JOAN

                   3   GARDNER, member of the EUSD Board of Education; DOUG PAULSON, member of the EUSD

                   4   Board of Education; ZESTY HARPER, a member of the EUSD Board of Education; LUIS

                   5   RANKINS-IBARRA, Superintendent of EUSD; JOHN ALBERT,                          Assistant Superintendent of

                   6   EUSD; TRENT SMITH, Director of Integrated Student Services for EUSD; TRACY SCHMIDT,

                   7   Director of Integrated Student Supports for EUSD; and STEVE WHITE, Principal of Rincon Middle

                   8   School at EUSD. The Defendant employees of the school district are referred to herein as “School

                   9   Employees.”

                  10               Plaintiffs also sued The State Superintendent of Public Instruction and individuals associated

                  11   with the State of California and the California State Board of Education but did not sue the State.

                  12   Those employees are separately represented.

                  13               Plaintiffs identified four claims for relief:

                  14               1. Violation of Free Speech Clause of First Amendment to U.S. Constitution: Compelled
ARTIANO SHINOFF




                  15   Speech & Viewpoint Discrimination;

                  16               2. Violation of Free Exercise Clause of First Amendment to U.S. Constitution: Not Generally

                  17   Applicable due to Categorical Exemptions;

                  18               3. Violation of Free Exercise Clause of First Amendment to U.S. Constitution: Not Generally

                  19   Applicable due to Discretionary Exemptions; and

                  20               4. Declaratory Relief. They seek declaratory relief and an injunction. They seek damages, but

                  21   have not presented a Government Claim.

                  22                                                        III.   PERTINENT FACTS

                  23               Plaintiffs allege in 2020, Escondido Union School District (“EUSD”) enacted Administrative

                  24   Regulation 5145.3, expanding upon its Board Policy 5145.3, which they allege “required

                  25   certificated EUSD staff to unquestioningly accept a students’ transgender or gender nonconforming

                  26   self-identification, begin referring to transgender or gender nonconforming students by their preferred

                  27   names and pronouns, and hide that information from parents or caretakers, among other requirements.”

                  28   Comp. ¶ 116, p. 28:16-19. They attach the AR as Exhibit 4. They contend:
                                                                      2
                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.648 Page 8 of 24




                   1                           EUSD’s policies state that “revealing a student’s transgender status to

                   2                           individuals who do not have a legitimate need for the information,

                   3                           without the student’s consent” is prohibited, and “parents or caretakers”

                   4                           are, according to EUSD, individuals who “do not have a legitimate need

                   5                           for the information,” irrespective of the age of the student or the specific

                   6                           facts of the situation.

                   7   Comp. ¶3, p. 3:18-13.

                   8               They allege that the policy prohibits teachers from respecting parents’ wishes. “According to

                   9   EUSD, ‘we shall use a student’s preferred name and pronoun based upon student request,’ and so ‘a

                  10   parent [is not] allowed to override a student’s request for different pronouns/alternate names.’” Comp.

                  11   ¶ 5, p. 4:10-12 (Ex. 5).

                  12               The school district policy is attached to the Complaint as Exhibit 2 and the Regulation is

                  13   attached as Exhibit 3. The school district policy seeks to protect the privacy of students who seek to

                  14   keep their gender identity confidential. Comp. Ex. 4. The Plaintiffs allege that policy violates their
ARTIANO SHINOFF




                  15   right to free speech and their religion.

                  16               There are two parts to the Plaintiffs’ objections. First, they object to the part of the policy that

                  17   requires them to respect a student’s request not to disclose the student’s new gender identity with one

                  18   or both parents. The call that a “lie.” Second, apparently, Plaintiffs object that they are required to

                  19   support a belief they disagree with when they are required to use the pronoun and name selected by a

                  20   student, which are inconsistent with the student’s birth gender.

                  21               93. Plaintiffs’ faith teaches that God immutably creates each person as male

                  22               or female; these two distinct, complementary sexes reflect the image of God; and

                  23               rejection of one’s biological sex is a rejection of the image of God within that person.

                  24               94. Plaintiffs also believe that they cannot affirm as true those ideas and

                  25               concepts that they believe are not true, nor can they aid and abet the deception of

                  26               others. Doing so, they believe, would violate biblical commands against dishonesty

                  27               and lying.

                  28               95. Plaintiffs’ faith does not command them to affirmatively communicate
                                                                             3
                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.649 Page 9 of 24




                   1               their religious beliefs at school, and they do not seek to do so. However, their faith

                   2               requires them to refrain from speaking in a manner that their faith instructs as

                   3               immoral, dishonest, or harmful.

                   4   Comp. p. 24:11-21.

                   5                                                        IV.    LEGAL STANDARD

                   6               A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) is proper when there is

                   7   either a lack of a cognizable legal theory or the absence of sufficient facts alleged under a cognizable

                   8   legal theory. See Balistreri v. Pacifica Police Dep’t., 901 F.2d 696, 699 (9th Cir. 1990). Basic federal

                   9   pleading standards require a plaintiff to provide “fair notice” of the claims asserted and the “grounds”

                  10   on which they rest. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).

                  11               In deciding a motion to dismiss under Rule 12(b)(6), the Court construes the complaint in the

                  12   light most favorable to the plaintiff and accepts all well-pled factual allegations as true to determine

                  13   whether the plaintiff can prove any set of facts to support a claim for relief. Cahill v. Liberty Mut. Ins.

                  14   Co., 80 F.3d 336, 337-338 (9th Cir. 1996). However, “a court considering a motion to dismiss can
ARTIANO SHINOFF




                  15   choose to begin by identifying pleadings that, because they are no more than conclusions, are not

                  16   entitled to the assumption of truth.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). The Court need not

                  17   accept as true “unreasonable inferences, unwarranted deductions of fact, or conclusory legal

                  18   allegations cast in the form of factual allegations.” Bureerong v. Uvawas, 922 F.Supp. 1450, 1462

                  19   (C.D. Cal. 1996). Nor should a court assume that the plaintiff can prove facts different from those

                  20   alleged. Associated Gen. Contractors of Calif. v. Calif. State Council of Carpenters, 459 U.S. 519,

                  21   526 (1983). “While legal conclusions can provide the framework of a complaint, they must be

                  22   supported by factual allegations.” Ashcroft, 556 U.S. at 679.

                  23               Instead, a plaintiff’s factual allegations “must be enough to raise a right to relief above the

                  24   speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. at 545 (The Court may properly dismiss

                  25   a claim where a plaintiff has not “nudged [her] claims across the line from conceivable to plausible”).

                  26                                                              V.   ANALYSIS

                  27               A.          The School’s Policies Are Consistent with State and Federal Law

                  28                           1.          Federal Law Protects Against Discrimination Because of Gender Identity
                                                                                   4
                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.650 Page 10 of 24




                   1               In March, 2021, President Biden issued “Executive Order 14021 on Guaranteeing an

                   2   Educational Environment Free From Discrimination on the Basis of Sex, Including Sexual Orientation

                   3   or Gender Identity.”

                   4                           It is the policy of my Administration that all students should be

                   5                           guaranteed an educational environment free from discrimination on the

                   6                           basis of sex, including discrimination in the form of sexual harassment,

                   7                           which encompasses sexual violence, and including discrimination on

                   8                           the basis of sexual orientation or gender identity. For students attending

                   9                           schools and other educational institutions that receive Federal financial

                  10                           assistance, this guarantee is codified, in part, in Title IX of the Education

                  11                           Amendments of 1972, 20 U.S.C. 1681 et seq., which prohibits

                  12                           discrimination on the

                  13                           basis of sex in education programs or activities receiving Federal

                  14                           financial assistance.
ARTIANO SHINOFF




                  15               Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 (“Title IX”) prohibits

                  16   discrimination based on sex in education programs and activities that receive federal financial

                  17   assistance. Title IX states “No person in the United States shall, on the basis of sex, be excluded from

                  18   participation in, be denied the benefits of, or be subjected to discrimination under any education

                  19   program or activity receiving Federal financial assistance. . . . ” 20 U.S.C. § 1681, subd. (a).

                  20               In evaluating Title IX claims, federal courts look to Title VII cases for guidance. Franklin v.

                  21   Gwinnett Cnty. Pub. Sch., 503 U.S. 60, 75 (1992); Patricia H. Berkeley. Unified Sch. Dist., 830

                  22   F.Supp. 1288, 1290 (C.D. Cal. 1993). In Schwenk v. Hartford, 204 F.3d 1187, 1202 (9th Cir. 2000),

                  23   the Ninth Circuit, relying on Price Waterhouse v. Hopkins, 490 U.S. 228 (1989), reasoned that “‘sex’

                  24   under Title VII encompasses both sex—that is, the biological difference between men and women—

                  25   and gender.” It explained that while earlier cases distinguished between “sex” and “gender,” the

                  26   Supreme Court in Price Waterhouse abandoned that distinction and held that Title VII bars

                  27   discrimination based on both an individual's sex and failure to conform to socially-constructed gender

                  28   expectations. Id. In Kastl v. Maricopa Cnty. Cmty. Coll. Dist., 325 Fed.Appx. 492, 493 (9th Cir. 2009),
                                                                          5
                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                             MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.651 Page 11 of 24




                   1   the Ninth Circuit reaffirmed that “it is unlawful to discriminate against a transgender (or any other)

                   2   person because he or she does not behave in accordance with an employer's expectations for men or

                   3   women.”

                   4               Similarly, other circuits have interpreted the sex discrimination provisions under Title IX and

                   5   Title VII to protect transgender individuals from discrimination. See, e.g., Glenn v. Brumby, 663 F.3d

                   6   1312, 1317 (11th Cir. 2011) (“[D]iscrimination against a transgender individual because of her gender-

                   7   nonconformity is sex discrimination, whether it's described as being on the basis of sex or gender.”);

                   8   Smith v. City of Salem, 378 F.3d 566, 575 (6th Cir. 2004) (“[A] label, such as ‘transsexual,’ is not fatal

                   9   to a sex discrimination claim where the victim has suffered discrimination because of his or her gender

                  10   non-conformity.”); Rosa v. Park West Bank & Trust Co., 214 F.3d 213, 215–16 (1st Cir. 2000)

                  11   (holding that a transgender individual stated a claim for sex discrimination under the Equal Credit

                  12   Opportunity Act); Whitaker v. Kenosha Unified Sch. Dist. No. 1, 858 F.3d 1034, 1049 (7th Cir. 2017)

                  13   (granting a preliminary injunction and holding that the plaintiff had established a likelihood of success

                  14   under Title IX where the school denied a transgender boy access to the boy's restroom). Because Title
ARTIANO SHINOFF




                  15   VII recognizes that discrimination on the basis of transgender identity is discrimination on the basis

                  16   of sex, by extension, Title IX prohibits discrimination on the basis of gender identity.

                  17                           2.          California Protects Against Discrimination Because of Gender Identity

                  18               B.          California Constitution Protects Privacy

                  19               The right to privacy is protected by Article 1, section 1, of the California Constitution. That

                  20   privacy right applies to children and permits the child to keep significant secrets from a parent. For

                  21   example, the California Supreme Court has held that a child's privacy rights include the right to obtain

                  22   an abortion without state notification of their parents. (American Academy of Pediatrics v. Lungren

                  23   (1997) 16 Cal.4th 307, 359,

                  24               C.          Statutes Protect Against Discrimination and Harassment

                  25               The Education Code protects a range of private information provided to a school counselor,

                  26   even to the extent of prohibiting disclosure to parents in some circumstances.

                  27                           Notwithstanding the provisions of this section, a school counselor shall

                  28                           not disclose information deemed to be confidential pursuant to this
                                                                               6
                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.652 Page 12 of 24




                   1                           section to the parents of the pupil when the school counselor has

                   2                           reasonable cause to believe that the disclosure would result in a clear

                   3                           and present danger to the health, safety, or welfare of the pupil.

                   4   Cal. Ed. Code § 49602, subd. (e).

                   5               Students are protected against gender-identity discrimination by the Education Code. “No

                   6   person shall be subjected to discrimination on the basis of … gender, gender identity, gender

                   7   expression, . . . sexual orientation, . . . in any program or activity conducted by an educational

                   8   institution . . . .” Ed. Code, § 220. “All pupils have the right to participate fully in the educational

                   9   process, free from discrimination and harassment.” Ed. Code, § 201.

                  10                                   No person shall be subjected to discrimination on the basis of

                  11                           disability, gender, gender identity, gender expression, nationality, race

                  12                           or ethnicity, religion, sexual orientation, or any other characteristic that

                  13                           is contained in the definition of hate crimes set forth in Section 422.55

                  14                           of the Penal Code, including immigration status, in any program or
ARTIANO SHINOFF




                  15                           activity conducted by an educational institution that receives, or benefits

                  16                           from, state financial assistance, or enrolls pupils who receive state

                  17                           student financial aid.

                  18   Ed. Code, § 220.

                  19               D.          The California Department of Education Requires the Policy

                  20               The California Department of Education (“CDE”) provides a website with Frequently Asked

                  21   Questions (“FAQ”) on the subject of school policies related to gender identity. The guidance from

                  22   the CDE is the source of the school district’s policy. That policy is consistent with the CDE instruction

                  23   to preserving the privacy of a student’s gender identity, even against the inquiry of a parent:

                  24                           1.          May a student’s gender identity be shared with the student’s parents, other
                                                           students, or members of the public?
                  25
                                   A transgender or gender nonconforming student may not express their gender identity openly
                  26
                                   in all contexts, including at home. Revealing a student’s gender identity or expression to
                  27
                                   others may compromise the student’s safety. Thus, preserving a student’s privacy is of
                  28
                                                                                     7
                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                           MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.653 Page 13 of 24




                   1               the utmost importance. The right of transgender students to keep their transgender

                   2               status private is grounded in California’s antidiscrimination laws as well as federal and

                   3               state laws. Disclosing that a student is transgender without the student’s permission may

                   4               violate California’s antidiscrimination law by increasing the student’s vulnerability to

                   5               harassment and may violate the student’s right to privacy.

                   6   CDE FAQ No. 6; Comp. Exhibit 23, ¶ 6, p. 5/12. (Emphasis added.)

                   7               The California Department of Education specifically prohibits schools from sharing a student’s

                   8   gender preference with the student’s parents in some rare circumstances.

                   9               Pursuant to the above protections, schools must consult with a transgender student to determine

                  10               who can or will be informed of the student’s transgender status, if anyone, including the

                  11               student’s family. With rare exceptions, schools are required to respect the limitations that

                  12               a student places on the disclosure of their transgender status, including not sharing that

                  13               information with the student’s parents. In those very rare circumstances where a school

                  14               believes there is a specific and compelling “need to know,” the school should inform the
ARTIANO SHINOFF




                  15               student that the school intends to disclose the student’s transgender status, giving the student

                  16               the opportunity to make that disclosure her or himself.

                  17   CDE FAQ No. 7; Comp. Exhibit 23, ¶ 7, p. 6/12. (Emphasis added.)

                  18               E.          Plaintiffs Assertion of Parents’ Rights Misstates the Law

                  19               The Ninth Circuit Court of Appeals has explained that parents are vested with the right to

                  20   choose where their children obtain an education. But, “once parents make the choice as to which school

                  21   their children will attend, their fundamental right to control the education of their children is, at the

                  22   least, substantially diminished. Fields v. Palmdale Sch. Dist., 427 F.3d 1197, 1204 (9th Cir. 2005)

                  23   Parents are not vested with the power to determine how a school “will provide information to its

                  24   students or what information it will provide, in its classrooms or otherwise.” Id. (emphasis added).

                  25   The Ninth Circuit then adopted the Sixth Circuit's position on this right:

                  26                           Perhaps the Sixth Circuit said it best when it explained, “While parents

                  27                           may have a fundamental right to decide whether to send their child to a

                  28                           public school, they do not have a fundamental right generally to direct
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                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.654 Page 14 of 24




                   1                           how a public school teaches their child. Whether it is the school

                   2                           curriculum, the hours of the school day, school discipline, the timing

                   3                           and content of examinations, the individuals hired to teach at the school,

                   4                           the extracurricular activities offered at the school or, as here, a dress

                   5                           code, these issues of public education are generally ‘committed to the

                   6                           control of state and local authorities.’”

                   7   Id. (quoting Blau v. Fort Thomas Public School Dist. (6th Cir. 2005) 401 F.3d 381, 395–396).

                   8               But, notwithstanding the importance of parents’ rights, one Federal District Court has denied

                   9   an injunction against a very similar policy sought by a parent who contended she had a right to be

                  10   informed of her child’s gender identity. “Plaintiff asks this Court to enjoin enforcement of school

                  11   district regulation AR 5145.3, which broadly covers nondiscrimination and harassment as it applies to

                  12   the school district's transgender students.”               Regino v. Staley (E.D. Cal., Mar. 9, 2023, No.

                  13   223CV00032JAMDMC) 2023 WL 2432920, at *1.                           “For the reasons set forth below, the Court

                  14   DENIES Plaintiff's motion.” Id.
ARTIANO SHINOFF




                  15               F.          The Regulation Does Not Violate the Plaintiffs’ Right to Free Speech

                  16                           1.          First, The Regulation Does Not Require Any Lie

                  17               A compelled speech claim has three elements. “[A] party must establish (1) speech, (2) that is

                  18   compelled by governmental action, and (3) to which the speaker objects. [citation]. If the three

                  19   elements are satisfied, strict scrutiny is triggered.” Dep’t of Fair Emp’t and Hous. v. Cathy’s Creations,

                  20   Inc., No. BCV-18-102633, 2022 WL 18232316, at *13 (Cal. Super. Dec. 27, 2022) (citing Taking

                  21   Offense v. State, 66 Cal. App. 5th 696, 709 (2021). “Compelling individuals to mouth support for

                  22   views they find objectionable violates [the First Amendment’s] cardinal constitutional command, and

                  23   in most contexts, any such effort would be universally condemned.” Janus v. Am. Fed’n of State,

                  24   Cnty., & Mun. Emps., Council 31, _ U.S. _, 138 S. Ct. 2448, 2463 (2018).

                  25               Plaintiffs’ Free Speech claim hinges upon the assertion that Regulation requires them to lie.

                  26   But that is not true. It is not true that the Policy or the Regulation requires anyone to lie. Nor does it

                  27   require the Plaintiffs to “mouth support” for views they find objectionable.

                  28               On the face of AR 5145.3, there is no requirement for anyone to lie. The entire Regulation is
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                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                           MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.655 Page 15 of 24




                   1   attached to the Complaint as Exhibit 3. It is a long Regulation, but the pertinent part says:

                   2                           To ensure that transgender and gender-nonconforming students are

                   3                           afforded the same rights, benefits, and protections provided to all

                   4                           students by law and Board policy, the district shall address each

                   5                           situation on a case-by-case basis, in accordance with the following

                   6                           guidelines:

                   7                           1. Right to privacy: A student's transgender or gender-nonconforming

                   8                           status is his/her private information and the district will only disclose

                   9                           the information to others with the student's prior written consent, except

                  10                           when the disclosure is otherwise required by law or when the district

                  11                           has compelling evidence that disclosure is necessary to preserve the

                  12                           student's physical or mental well-being. In the latter instance, the district

                  13                           shall limit disclosure to individuals reasonably believed to be able to

                  14                           protect the student's well-being. Any district employee to whom a
ARTIANO SHINOFF




                  15                           student discloses his/her transgender or gender-nonconforming status

                  16                           shall seek the student's permission to notify the compliance officer. If

                  17                           the student refuses to give permission, the employee shall keep the

                  18                           student's information confidential, unless he/she is required to disclose

                  19                           or report the student's information pursuant to this procedure, and shall

                  20                           inform the student that honoring the student's request may limit the

                  21                           district's ability to meet the student's needs related to his/her status as a

                  22                           transgender or gender-nonconforming student. If the student permits the

                  23                           employee to notify the compliance officer, the employee shall do so

                  24                           within three school days.

                  25                           As appropriate given the physical, emotional, and other significant risks

                  26                           to the student, the compliance officer may consider discussing with the

                  27                           student any need to disclose the student's transgender or gender-

                  28                           nonconformity status to his/her parents/guardians and/or others,
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                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.656 Page 16 of 24




                   1                           including other students, teacher(s), or other adults on campus. The

                   2                           district shall offer support services, such as counseling, to students who

                   3                           wish to inform their parents/guardians of their status and desire

                   4                           assistance in doing so.

                   5   EUSD AR 5145.3, Comp. Ex. 3.

                   6               As applied, the school did not require anyone to lie, either. Plaintiffs allege the school provided

                   7   training, and nowhere in that training is there any requirement to lie. Plaintiffs attached as Exhibit 4

                   8   to the Complaint a transcript of training provided by the school to the teachers. It does not include

                   9   any requirement to state any fact that is false, i.e. to lie. There is a requirement to protect the privacy

                  10   rights of students who wish to keep private their name and pronoun as they make the decisions related

                  11   to gender-identity transition. Plaintiffs allege they were instructed,

                  12                                       If a suspicious parent asks a teacher about whether their child

                  13                           has socially transitioned at school, the teacher must simply respond that

                  14                           “the inquiry is outside of the scope of the intent of their interaction” and
ARTIANO SHINOFF




                  15                           that they can only discuss “information regarding the student’s behavior

                  16                           as it relates to school, class rules, assignments, etc.” (Ex. 9, pp.2-4.)

                  17                           Even if a parent expresses concern, teachers are specifically “directed

                  18                           to refrain from elaborating on their personal beliefs” regarding the

                  19                           child’s gender confusion. (Ex. 9, p.2.)

                  20   Comp. p. 4:1-7, citing from Exhibit 9.

                  21               The instruction to say a subject is outside of the scope of the discussion is not an instruction to

                  22   lie. It is not an instruction to state an opinion. It is an instruction to avoid the question.

                  23                           2.          Plaintiffs’ Speech at School Is Not Protected Speech

                  24               G.          A Techer’s Speech in the Classroom Is Not Protected Speech

                  25               Arguendo, if the Court decides the school district’s Regulation, as applied, imposes some

                  26   obligation on the Plaintiffs’ speech, that speech is not protected. “We hold that when public employees

                  27   make statements pursuant to their official duties, the employees are not speaking as citizens for First

                  28   Amendment purposes, and the Constitution does not insulate their communications from employer
                                                                    11
                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                             MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.657 Page 17 of 24




                   1   discipline.” Garcetti v. Ceballos, 547 U.S. 410, 421 (2006).

                   2               There is no doubt that a public-school teacher has certain First Amendment rights of freedom

                   3   of speech or expression. Pickering v. Board of Educ., 391 U.S. 563 (1968); Tinker v. Des Moines Ind.

                   4   Comm'ty. Sch. Dist., 393 U.S. 503, 506 (1969) [“[i]t can hardly be argued that either students or

                   5   teachers shed their constitutional rights to freedom of speech or expression at the schoolhouse gate.”].

                   6   But the free speech rights of public employees, including teachers, are not unlimited. Those rights

                   7   have been restricted under the test established in Pickering and clarified in Connick v. Myers, 461 U.S.

                   8   138 (1983), and Garcetti, supra, 547 U.S. at p. 418.

                   9               The Pickering test provides a public employee with First Amendment protections only if (1)

                  10   the employee is speaking as citizen, (2) on a matter of public concern, and (3) the public entity has no

                  11   adequate justification for treating the employee differently from any other member of the general

                  12   public. Garcetti, supra, 547 U.S. at 418.

                  13               The Garcetti case clarified the first prong of the Pickering test -- whether a public employee

                  14   is speaking as a citizen. In Garcetti, an assistant district attorney wrote a memo to his supervisor
ARTIANO SHINOFF




                  15   recommending dismissal of a particular criminal case because the affidavit police used to obtain a

                  16   critical search warrant was inaccurate. Garcetti, supra, 547 U.S. at 414. The assistant D.A. was

                  17   criticized by his supervisors for writing the memo and demoted. Id. at 415. He then sued his employer

                  18   under 42 U.S.C. § 1983 for retaliation in violation of his First Amendment rights. Id. The Garcetti

                  19   court upheld the use of the Pickering test to determine the public employee's free speech rights in the

                  20   workplace. Garcetti, 574 U.S. at 418.

                  21               In clarifying the definition of “citizen” under the first prong of the Pickering test, the Garcetti

                  22   court explained that the focus should not be on the content of the speech, but on the role the speaker

                  23   occupied when the speech was made. Garcetti, supra, 574 U.S. at 421. Using that standard, Court held

                  24   that “when public employees make statements pursuant to their official duties, the employees are not

                  25   speaking as citizens for First Amendment purposes.” Id.

                  26               Plaintiffs incorrectly contend they are discussing matter of public concern so that their

                  27   discussion is protected, citing Demers v. Aaustin, 746 F.3d 402, 411-13 (9th Cir. 2014.) But Demers

                  28   v. Aaustin does not apply. Its analysis only applies to post-secondary education -- colleges and
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                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.658 Page 18 of 24




                   1   universities. And it recognizes the difference between universities and high schools education.

                   2   “Further, the degree of freedom an instructor should have in choosing what and how to teach will vary

                   3   depending on whether the instructor is a high school teacher or a university professor.” Demers v.

                   4   Austin, supra, at 413.

                   5               The Garcetti court expressly left open the question of whether its gloss on the Pickering test

                   6   should be applied to the world of public academia, where there are different free speech concerns,

                   7   such as academic freedom. Id. at 425. To that end, the Garcetti court noted: “There is some argument

                   8   that expression related to academic scholarship or classroom instruction implicates additional

                   9   constitutional interests that are not fully accounted for by this Court's customary employee-speech

                  10   jurisprudence. We need not, and for that reason do not, decide whether the analysis we conduct today

                  11   would apply in the same manner to a case involving speech related to scholarship or teaching.” Id.

                  12               Such “academic freedom” concerns are not present at the high-school level. For example, in

                  13   Evans-Marshall v. Board of Educ., 624 F.3d 332 (6th Cir. 2010), the Sixth Circuit explained that

                  14   “‘academic freedom’ … does not readily apply to in-class curricular speech at the high school level”
ARTIANO SHINOFF




                  15   but applies more at the university level. Evans-Marshall, supra, 624 F.3d at 343-344.

                  16               The Ninth Circuit has agreed with the Sixth Circuit, noting that Garcetti's “‘academic freedom’

                  17   carve-out applied to teachers at public colleges and universities, not primary and secondary school

                  18   teachers.” Johnson v. Poway Unified School Dist. (9th Cir. 2011) 658 F.3d 954, 966.

                  19               In Johnson, a schoolteacher hung banners expressing religious phrases in his math classroom;

                  20   the school instruct him to remove them. Johnson, supra, at 958-959. “When Bradley Johnson, a high

                  21   school calculus teacher, goes to work and performs the duties he is paid to perform, he speaks not as

                  22   an individual, but as a public employee, and the school district is free to “take legitimate and

                  23   appropriate steps to ensure that its message is neither garbled nor distorted.” Johnson, supra at 957,

                  24   citing, Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 833 (1995).

                  25               Primary and secondary schools hire teachers for their ability to convey the school district's

                  26   curriculum, not for their academic publications, as might occur at the university level. And teachers

                  27   may not introduce their own views on a particular subject, but “must stick to the prescribed curriculum

                  28   not only the prescribed subject matter, but also the prescribed perspective on that subject matter.”
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                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                             MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.659 Page 19 of 24




                   1   Mayer v. Monroe County Community School Corp., 474 F.3d 477,479 (7th Cir. 2007). This is because

                   2   “the school system does not regulate teachers' speech as much as it hires that speech. Expression is a

                   3   teacher's stock in trade, the commodity she sells to her employer in exchange for a salary.” Id.; see

                   4   also, Borden v. Sch. Dist. of East Brunswick, 523 F.3d 153, 171 (3d Cir. 2008) (holding under

                   5   Pickering-based analysis that school could prohibit faculty participation in student-initiated prayer);

                   6   Lee v. York Cnty. Sch. Div., 484 F.3d 687, 700 (4th Cir. 2007) (holding under a Pickering-based

                   7   analysis that a school board did not infringe the rights of a teacher when it ordered him to remove

                   8   religious material from a classroom bulletin board); Brammer-Hoelter v. Twin Peaks Charter Acad.,

                   9   492 F.3d 1192,1204 (10th Cir. 2007); Williams v. Dallas Indep. Sch. Dist., 480 F.3d 689, 694 (5th Cir.

                  10   2007); Mayer v. Monroe Cnty. Cmty. Sch. Corp., 474 F.3d 477,479-80 (7th Cir. 2007) (applying

                  11   Pickering-based test and holding that “the [F]irst [A]mendment does not entitle primary and secondary

                  12   teachers, when conducting the education of captive audiences, to cover topics, or advocate viewpoints,

                  13   that depart from the curriculum adopted by the school system”).

                  14               H.          Plaintiffs’ Speech Is Curricular Speech
ARTIANO SHINOFF




                  15               There can be no doubt that Plaintiffs’ objections to speaking, or refraining from speaking as

                  16   the Regulation required, was speech in the scope of their duties as a teacher. It was not spoken as a

                  17   private citizen, but was “government speech,” required by the school district Regulation. When

                  18   Plaintiffs go to work and perform the duties they are paid to perform, they speak not as individuals,

                  19   but as public employees, and the school district is free to “take legitimate and appropriate steps to

                  20   ensure that its message is neither garbled nor distorted.” Johnson, supra at 957, citing, Rosenberger v.

                  21   Rector & Visitors of the Univ. of Va., 515 U.S. 819, 833 (1995).

                  22               I.          The Policy Does Not Violate the Plaintiffs Religion

                  23               Plaintiffs’ second and third claims for relief are captioned the same: “Violation of Free

                  24   Exercise Clause of First Amendment to U.S. Constitution: Not Generally Applicable due to

                  25   Categorical Exemptions.” Each claim is similar.

                  26               ISSUES: Does the school’s policy actually burden the Plaintiffs’ religious beliefs? If so, does

                  27   a policy designed to prevent discrimination and harassment that incidentally burdens religion violate

                  28   the free exercise clause of the Constitution? Stated more broadly, can a religious belief serve to permit
                                                                           14
                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.660 Page 20 of 24




                   1   racial discrimination against gender non-conforming students?

                   2                           1.          The School’s Policy Does Not Burden Plaintiffs’ Religion

                   3               Plaintiffs claim the school’s policy prohibited the free exercise of their religion. U.S. Const.

                   4   amend. I. Under this guarantee, Plaintiffs must “show[ ] that a government entity has burdened [their]

                   5   sincere religious practice pursuant to a policy that is not ‘neutral’ or ‘generally applicable.’” Kennedy

                   6   v. Bremerton School District (2022) __ U.S. __, 142 S.Ct. 2407, 2421, 2422. General applicability

                   7   requires, among other things, that the laws be enforced evenhandedly. Id. at 2423; see also Apache

                   8   Stronghold v. United States, 38 F.4th 742, 770 (9th Cir. 2022) (“[A] law is not ‘generally applicable’

                   9   if the law ‘impose[s] burdens only on conduct motivated by religious belief’ in a ‘selective manner.’”

                  10   (second brackets in original) (quoting Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508

                  11   U.S. 520, 533, 543, (1993)); Stormans, Inc. v. Wiesman, 794 F.3d 1064, 1079 (9th Cir. 2015).

                  12               First, the school’s policy does not actually burden the Plaintiffs’ free exercise of their religious

                  13   beliefs. They allege the policy requires them to lie when they must not disclose to the parent a

                  14   students’ preferred name and pronoun without the student’s permission. Comp. p. 51, ¶¶ 208-211.
ARTIANO SHINOFF




                  15                            Mrs. Mirabelli and Mrs. West remain committed—in light of their

                  16                           faith—to prevent transgender students from being bullied or harassed.

                  17                           They have no intention to, and will not, harass or tolerate harassment of

                  18                           transgender or gender diverse students. But a requirement that Mrs.

                  19                           Mirabelli and Mrs. West actively deceive parents and hide their

                  20                           child’s gender confusion from them, and a strict prohibition against

                  21                           Mrs. Mirabelli and Mrs. West even responding to questions from

                  22                           parents about gender identity, will never be acceptable.

                  23   Comp. p. 52, ¶ 215.

                  24               But it is not a lie to avoid answering a question, in that very rare situation where a child does

                  25   not want their parent to know their gender identity is different. It is not a lie to refer a parent’s question

                  26   to an administrator or limit the subject matter to education issues. The California Department of

                  27   Education does not think it is a lie: “With rare exceptions, schools are required to respect the

                  28   limitations that a student places on the disclosure of their transgender status, including not sharing that
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                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.661 Page 21 of 24




                   1   information with the student’s parents.” CDC FAQ # 7, Comp. Ex. 26, 6/12.

                   2                           2.          The School’s Policy Is Neutral and Applied Generally

                   3               The right to exercise one's religion freely, however, “does not relieve an individual of the

                   4   obligation to comply with a valid and neutral law of general applicability on the ground that the law

                   5   proscribes (or prescribes) conduct that his religion prescribes (or proscribes).” Emp't Div. v. Smith,

                   6   494 U.S. 872, 879 (1990) (internal quotation marks omitted).

                   7               A neutral law of general application need not be supported by a compelling government

                   8   interest even when “the law has the incidental effect of burdening a particular religious practice.”

                   9   Church of Lukumi Babalu Aye, Inc. v. City of Hialeah (“Lukumi”), 508 U.S. 520, 531, 113 S.Ct. 2217,

                  10   124 L.Ed.2d 472 (1993). Such laws need only survive rational basis review. Miller v. Reed, 176 F.3d

                  11   1202, 1206 (9th Cir.1999). For laws that are not neutral or not generally applicable, strict scrutiny

                  12   applies. See Lukumi, 508 U.S. at 531–32, 113 S.Ct. 2217 (“A law failing to satisfy these requirements

                  13   must be justified by a compelling governmental interest and must be narrowly tailored to advance that

                  14   interest.”).
ARTIANO SHINOFF




                  15               The tests for “[n]eutrality and general applicability are interrelated, and ... failure to satisfy one

                  16   requirement is a likely indication that the other has not been satisfied.” Id. at 531, 113 S.Ct. 2217.

                  17                           The mere existence of an exemption that affords some minimal

                  18                           governmental discretion does not destroy a law's general applicability.

                  19                           See Grace United Methodist Church v. City of Cheyenne, 451 F.3d 643,

                  20                           651 (10th Cir.2006) (“Consistent with the majority of our sister circuits,

                  21                           ... we have already refused to interpret Smith as standing for the

                  22                           proposition that a secular exemption automatically creates a claim for a

                  23                           religious exemption.”)

                  24   Stormans, Inc. v. Wiesman (9th Cir. 2015) 794 F.3d 1064, 1082.

                  25               The Plaintiffs contend the policy is not neutral and not applied generally in two ways. First,

                  26   they argue it does not apply to some employees.                   “As outlined above, the policies apply to

                  27   approximately 1,000 certificated teachers, but do not apply to more than 115 credentialed

                  28   administrative staff, 740 classified support staff, or 17,000 students.” Comp. p.58, ¶ 258. But that is
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                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SCHOOL EMPLOYEE DEFENDANT’S
                                           MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.662 Page 22 of 24




                   1   not true. Neither the Policy (Ex. 2) nor the Regulation (Ex. 3) excludes any adult or student. “The

                   2   Regulation broadly applies to all acts relate to school activity or to school attendance occurring with

                   3   a district school . . .” Comp. Ex. 2. It is true that the District provided training to teachers that it did

                   4   not provide to custodians, but that was because teachers are on the front line of communication with

                   5   parents. The policy requiring respect for gender diverse students applies to everyone.

                   6               Second, they contend the policy has discretionary exceptions. Comp. p. 60-61, ¶ ¶ 266-270.

                   7   But the discretion only applies to issues related to discipline. The staff was told that refusing to address

                   8   the student by the name and the pronoun consistent with their gender identity was one of the

                   9   discriminatory or harassing actions that could subject the person to discipline. Comp. Ex. 4, p. 6.

                  10   Plaintiffs argued that “harassment” had elements that required discretion to analyze. Comp. p. 61, ¶¶

                  11   268-270. That is not an exception to the policy requiring respect for the student’s gender identity or

                  12   respect for the student’s privacy. It is an exception to discipline for a person who violated the policy

                  13   based upon circumstances. Similarly, the policy did not cover “inadvertent slips or honest mistakes.”

                  14   Comp. p. 61, ¶270. That also is not an “exception” but is part of a consistent policy against intentional
ARTIANO SHINOFF




                  15   discrimination against a student because of gender identity.

                  16               There are no exceptions in the application of the policy and the policy is applied generally,

                  17   consequently, the policy need only survive rational basis review. Miller v. Reed, 176 F.3d 1202, 1206

                  18   (9th Cir.1999). The school’s policy of respecting a student’s privacy and gender identity, and keeping

                  19   their gender identity private upon request, is rationally related to the purpose of preventing

                  20   discrimination and harassment.

                  21                           3.          The Policy Meets the Strict Scrutiny Test

                  22               The Policy requires all staff to protect the privacy of students, consistent with their

                  23   Constitutional right to privacy, to protect the student’s safety and emotional security. That is a

                  24   compelling interest. The state has a compelling interest “of the highest order” in eradicating sex

                  25   discrimination. Roberts v. United States Jaycees (1984) 468 U.S. 609, 626. The Supreme Court found

                  26   that discrimination on the basis of “sex” includes discrimination on the basis of sexual orientation or

                  27   transgender status. Bostock v. Clayton County (2020) ––– U.S. ––––, 140 S.Ct. 1731, 1741. The

                  28   California Supreme Court also recognized that the state has a compelling interest “in ensuring full and
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                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.663 Page 23 of 24




                   1   equal access to medical treatment irrespective of sexual orientation.” North Coast Women's Care

                   2   Medical Group, Inc. v. Superior Court (2008) 44 Cal.4th 1145, 1158. The governmental purpose of

                   3   protecting at-risk students from harm is a compelling governmental interest and the Policy of

                   4   protecting the student’s privacy, even from the parents in rare instances, is narrowly tailored, meeting

                   5   the strict scrutiny test.

                   6               The Policy and Regulation are narrowly tailored. There is no alternative method of meeting

                   7   the requirement to keep the student’s gender identity private when the student does not want a parent

                   8   to know except the careful referral to experts with the purpose of assisting the student to work through

                   9   the process of informing their parents.

                  10               J.          The California Department of Education Authorities Support the Policy

                  11               The Fourth Claim for Relief contends the California Department of Education’s legal

                  12   authorities do not support the advice given to schools by the FAQ. The CDE’s FAQ pages are attached

                  13   to the Complaint as Exhibit 26. The policy is amply supported by the legal authorities identified above

                  14   in Section A of this brief.
ARTIANO SHINOFF




                  15               K.          The School Employees Are Entitled to Qualified Immunity

                  16               Plaintiffs seek nominal and actual damages. Comp. p. 64:14. In the event the court denies the

                  17   motion to dismiss, the school employee defendants are entitled to qualified immunity.

                  18               Qualified immunity seeks to guarantee that public officials who are subjected to suit are on notice

                  19   that their actions were unlawful. Hope v. Pelzer, 536 U.S. 730 (2002). In order to make a determination

                  20   regarding qualified immunity, a court may first determine that, given the facts alleged and, in the light

                  21   most favorable to the plaintiff, the official's conduct violated the plaintiff's constitutional right. Saucier

                  22   v. Katz, 533 U.S. 194, 195 (2001). If a constitutional right was violated, then it must be determined that

                  23   the right was clearly established. This determination rests upon the specific context of the case, and not

                  24   a broad general proposition. Id. Moreover, the court must inquire as to whether it would be clear to a

                  25   reasonable official that his or her conduct was unlawful in the given situation. Id. In Pearson v. Callahan,

                  26   555 U.S. 223 (2009), the Court held that a court may determine which prong of the analysis should be

                  27   addressed first in light of the circumstances.

                  28               Here, it is indisputable that the entire issue of gender-identity rights is anything but clear. There
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                       {AS7 Law San Diego/001290/000012/PL/S0554293.DOCX}
                  Case 3:23-cv-00768-BEN-WVG Document 17 Filed 06/14/23 PageID.664 Page 24 of 24




                   1   is no possibility that the school employees could have known that complying with their employer’s

                   2   policy could have violated the Plaintiffs’ right to free speech or religion. Consequently, if the Court

                   3   denies the motion to dismiss, or grants the motion with leave to amend, the Court should order that

                   4   the individual defendants are entitled to immunity from all damages.

                   5                                                        VI.   CONCLUSION

                   6               Based upon the foregoing, it is respectfully requested that this Court sustain Defendants’

                   7   motion to dismiss Plaintiffs’ Complaint under Federal Rule of Civil Procedure 12(b)(6). If the Court

                   8   denies any part of the motion to dismiss, the Court is requested to order that the individual defendants

                   9   ae entitled to immunity from all damages.

                  10
                  11   Dated: May 23. 2023                                          ARTIANO SHINOFF

                  12
                  13                                                                      /s/ Daniel R. Shinoff
                                                                                    By:
                  14
ARTIANO SHINOFF




                                                                                         Daniel R. Shinoff
                                                                                         Maurice A. Bumbu
                  15                                                                Attorney for Defendants School Employees

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